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11 Counsel for Plaintiffs and the Proposed Class

12 *Pro Hac Vice application to be submitted

13                                 UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
15
                                           SAN JOSE DIVISION
16

17 BEST CARPET VALUES, INC. and                              Case No: 5:20-cv-04700-EJD
   THOMAS D. RUTLEDGE, on behalf of
18 themselves and all others similarly situated,             CERTIFICATION PURSUANT TO
19                                                           CIVIL L.R. 3-15
                          Plaintiffs,
20
                v.
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     GOOGLE LLC,
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23                        Defendant.

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                                                       -2-                     CIVIL L.R. 3-15 CERTIFICATION
           Case 5:20-cv-04700-EJD Document 30 Filed 11/03/20 Page 2 of 2




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            Pursuant to Civil L.R. 3-15, the undersigned certifies that, as to Plaintiffs BEST CARPET
 3
     VALUES, INC. and THOMAS D. RUTLEDGE, the following listed persons, associations of
 4
     persons, firms, partnerships, corporations (including parent corporations) or other entities (i) have a
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     financial interest in the subject matter in controversy or in a party to the proceeding, or (ii) have a
 6
     non-financial interest in that subject matter or in a party that could be substantially affected by the
 7
     outcome of this proceeding: Legalist Fund II, L.P.
 8

 9
     Dated: November 3, 2020                        Respectfully submitted,
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                                                    ALEXANDER H. SCHMIDT, ESQ.
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13                                                  By: _______________________________________
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